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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re                                                     Chapter 11

    Lordstown Motors Corp., et al.,1                          Case No. 23-10831 (MFW)

                            Debtors.                          (Jointly Administered)


                            NOTICE OF APPEARANCE AND
                     REQUEST FOR SERVICE OF NOTICES AND PAPERS

                 PLEASE TAKE NOTICE that Pashman Stein Walder Hayden, P.C., and Loeb &

Loeb LLP hereby enter their appearance (the “Notice of Appearance”) in the above-captioned

cases as counsel to Auto Motive Power, Inc. (d/b/a AMP) (“AMP”), pursuant to section 1109(b)

of title 11 of the United States Code, rules 2002, 3017(a), 9007, and 9010 of the Federal Rules of

Bankruptcy Procedure (as amended, the “Bankruptcy Rules”), and rule 2002-1(d) of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware, and request that copies of any and all notices and papers filed or entered in these

cases be given to and served upon the following:

    PASHMAN STEIN WALDER                                       LOEB & LOEB LLP
    HAYDEN, P.C.                                               Schuyler G. Carroll
    John W. Weiss (No. 4160)                                   Noah Weingarten
    1007 North Orange Street, 4th Floor #183                   345 Park Avenue
    Wilmington, DE 19801                                       New York, New York 10154
                                                               Telephone: (212) 407-4000
    Telephone: (302) 592-6496
                                                               Facsimile: (212) 407-4990
    Facsimile: (732) 852-2482                                  Email: scarroll@loeb.com
    Email: jweiss@pashmanstein.com                                    nweingarten@loeb.com




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.



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                 PLEASE TAKE FURTHER NOTICE that this constitutes not only a request for

service of the notices and papers referred to in the Bankruptcy Rules specified above, but also

includes, without limitation, a request for service of all orders and notices of any application,

motion, petition, pleading, request, complaint, or demand, whether formal or informal, whether

written or oral, and whether transmitted or conveyed by mail, courier service, hand delivery,

telephone, facsimile transmission, email or otherwise, that (1) affects or seeks to affect in any way

any rights or interests of any creditor or party in interest in this case, with respect to (a) the debtors

in the above-captioned cases (the “Debtors”) and any related adversary proceedings, whether

currently pending or later commenced, (b) property of the Debtors’ estates, or proceeds thereof, in

which the Debtors may claim an interest, or (c) property or proceeds thereof in the possession,

custody, or control of others that the Debtors may seek to use, or (2) requires or seeks to require

any act or other conduct by a party in interest.

                 PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and any

subsequent appearance, pleading, claim, or suit is not intended nor shall be deemed to waive the

rights of AMP: (1) to have an Article III judge adjudicate in the first instance any case, proceeding,

matter, or controversy as to which a bankruptcy judge may not enter a final order or judgment

consistent with Article III of the United States Constitution; (2) to have final orders in a non-core

case, proceeding, matter, or controversy entered only after an opportunity to object to proposed

findings of fact and conclusions of law and a de novo review by a district court judge; (3) to trial

by jury in any case, proceeding, matter, or controversy so triable; (4) to have the reference

withdrawn by the United States District Court in any case, proceeding, matter, or controversy

subject to mandatory or discretionary withdrawal; or (5) any other rights, claims, actions, defenses,

setoffs, or recoupments to which AMP is or may be entitled under agreements, in law, or in equity,




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all of which rights, claims, actions, defenses, setoffs, and recoupments expressly are hereby

reserved.

Dated: March 5, 2024                         PASHMAN STEIN WALDER HAYDEN, P.C.
       Wilmington, Delaware
                                             /s/ John W. Weiss
                                             John W. Weiss (No. 4160)
                                             1007 North Orange Street, 4th Floor #183
                                             Wilmington, DE 19801
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                                             -and-

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                                             Schuyler G. Carroll (admitted pro hac vice)
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                                             Counsel to Auto Motive Power, Inc. (d/b/a AMP)




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                                 CERTIFICATE OF SERVICE


         I, John W. Weiss, hereby certify that on March 5, 2024, I caused a copy of the foregoing

NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF NOTICES AND PAPERS to be

served on all parties who are scheduled to receive notice through the Court’s ECF system.


                                      PASHMAN STEIN WALDER HAYDEN, P.C.

                                      /s/ John W. Weiss
                                      John W. Weiss (No. 4160)
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                                      Counsel to Auto Motive Power, Inc. (d/b/a AMP)




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